                                  EXHIBIT A

                                     Claim




DOCS_DE:240640.3 75015/003
 Case 2-20-20230-PRW, Doc 1651-1, Filed 09/21/22, Entered 09/21/22 15:51:50,
                  Description: Exhibit A - Claim 282, Page 1 of 41
                                                                                                                                            RECEIVED
                                                                                                                                            ; JUL 3 0 2020
-               ---        -   -- - - - - - - - - - - - - - -               ---------
    F1ll 1n this mformat1on to 1dcnt1fy the case:                                                                                         LEGAL SERVICES
    Debtor1               Rochester Drug Co-Operative, Inc.
                                                                                                                        (Flied: USBC - Western ·oistrict of New York
    Debtor2
    (Spouse, if filing}
                                                                                                                                 1
    United States Bankruptcy Court for the: Western District of New York
                                                                                                                        i ~i-~~~· ~,(~~i;0·11iiiiiii'1i1I11iiil 111111
                          =2c:Oc.c-2=-0=-2=-3=-0=-------------
 · Case number
                                                                                                                              RDR                                 00000002s2

 Official Form 410
 Proof of Claim                                                                                                                                                        04/19

 Read the Instructions before filling out this form. This form Is for making a claim for payment In a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, Invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do :not send original documents; they may be destroyed after scanning. lf the doCuments are not available,
explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years. or both. 18 U.S.C. §§ 152, 157, and 3571.
 FIii in all the Information about the claim as of the date the case was filed. That date Is on the notice of bankruptcy (Form 309) that you received.



                  Identify the Claim

1. Who Is the current
   creditor?
                                      Klein Pharmacy, Inc.
                                      Name of the current creditor (the person or entity to be paid for this dalm)

                                      Other names the creditor used with the debtor

2. Has this claim b98n
   acquired from
                                      1/!1   No
   someone else?                      D      Yes. Fromwhom? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ - ~ - - - - - - - - -


3. Where should notices               Where should notices to the creditor be sent?                              Where should payments to the creditor be sent? (if
   and payments to the                                                                                           different)
   creditor be sent?
                                      Lee E. Woodard, Esq.                                                           Klein Pharmacy, Inc. ,
     Federal Rule of                  Name                                                                       Name
     Bankruptcy Procedure
     (FRBP) 2002(9)                    333 West Washington St., Suite 200                                            123 Fifth Avenue
                                      Number          Street                                                     Number          Street
                                       Syracuse                          NY              13202                       Pelham                   NY                  10803
                                      Clfy                              State                   ZJP Code         City                         State                    ZIP Code

                                      Coo~ct phoae    (315) 423-7100                                             Cootact phooe   (914) 738-3333
                                      Contact email bkemail@harrisbeach.com                                      contact email nadeem kausar@yahoo.com




                                      Uniform daim identifier for electronic payments in chapter 13 (if you use one):




~- Does this claim amend              !I No
      one already filed?              D      Yes. Claim number on court claims registry (if known) _ __                                   Filed on _ _ _ _ _ _ __
                                                                                                                                                      MM   I OD     / YYYY


5. Do you know if anyone              1/!1   No
   else has filed a proof             D      Yes. Who made the earlier filing?
   of claim for this claim?




     Official Form410                                                           Proof of Claim                                                                page 1


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              '   .


              \-1-....     1, . . . . .   ~
              .•••, ...-> .•••   ... - ~-
              Give Information About the Claim as of the Data the Case Was Filed

6. Do you have any number                 !!j No
     you use to Identify the              D Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:            __ __ _ ___
     debtor?



7.   How much Is the claim?                     $                       95,106.13.     Does this amount Include interest or other charges?
                                                                                       l!3' No
                                                                                       D   Yes. Attach statement itemizing Interest, fees, expenses, or other
                                                                                                charges required by Bankruptcy Rule 3001(c)(2)(A).


6. What is the basis of the               Examples: Goods sold, money loaned, lease. services performed, personal injury or wrongful death. or credit card.
     claim?
                                          Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                                          Limit disclosing lnfonnation that is entitled to privacy, such as health care information.

                                              Unpaid patronage dividends as part of the product sales program.


9. Is all or part of tho claim            !!j No
   secured?                               D Yes.       The claim is secured by a lien on property.
                                                       Nature of property:
                                                       0   Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                                        Attachment {Official Form 410-A) with this Proof of Claim.
                                                       D   Motor vehicle
                                                       0   Other. Describe:



                                                       Basts for perfection:
                                                       Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                                       example, a mortgage, lien, certificate of title. financing statement, or other document that shows the lfen has
                                                       been filed or recorded.)


                                                                                                                                                                          I
                                                       Value of property:                            $
                                                       Amount of the claim that is secured:          $

                                                       Amount of the claim that is unsecured: $                             {The sum of the secured and unsecured
                                                                                                                            amounts should match the amount In line 7.)



                                                       Amount necessary to cure any default as of the date of the petition:            $


                                                       Annual Interest Rate (when ca·se was filed) _ _ _ %
                                                       0   Fixed
                                                       0   Variable



10. Is this clalm based on a              !!j    No
    lease?
                                          D      Yes. Amount necessary to cure any default as of the date of the petition.             $


11. Is this claim subject to a                0 No
     right of setoff?
                                              D Yes. Identify the property:
                                                                                                                                           '-



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12. Is all or part of the claim    1B No
    entitled to priority under
    11 U.S.C. § 507(a)?            D       Yes. Check one:                                                                                            Amount entlUed to priority

   A claim may be partly                   D   Domestic support obligations (includi,ng alimony and child support) under                             $._ _ _ _ _ _ __
   priority and partly                         11 U.S.C. § 507(a)(1 )(A) or (a)(1)(8).
   nonpriority. For example.
   in some categories. the                 D   Up to.$3.025' of deposits toward purchase, tease, or rental of property or services for
                                                                                                                                                     $._ _ _ _ _ _ __
   law limits the amount                       persona!, family. or household use. 11 U.S.C. §. 507(a)(7).
   entitled to priority.
                                           D   Wages, salaries, or commissions (up 10 S13,sso·) earned wi1hin 180 days before tr.e ·
                                               bankruptcy petition is filed or the debtor's business ends, whichever is earlier                      $ _ _ _ _ _ _ __
                                               11 U.S.C. § 507(a)(4).

                                           D   Taxes-or penalH~s owed to governmental units. 11 U.S.C. § 507(a)(8).                                  S_ _ _ _ _ _ _ __

                                           D   Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5}.                                     $ _ _ _ _ _ _ _ __

                                           0   Other. Specify subsection of 11 U.S.C. § 507(aJLJ that applies                                        $ _ _ _ _ _ _ __

                                           • Amounts are subject to adJuslment on 4/01122 and every 3 years after that far cases t:iegun an or after the date ol acliuslmenl.




•Mil         Sign Below

 The person completlng            Check the appropriate box:
 ~his proof of claim must
 sign and date it.                0        I am the creditor.
 FRBP 9011(b).                    l!1'     l am tt.,e creditor's attorney or authorized agent.
 If you file this claim           D        I am tfle trustee. or the debtor. or their authorized agent. Bankruptcy Rute 3004.
 electronically, FRBP
 5005(a){2) authorizes courts
                                  D        I am a guarantor, surely. endorser. or other codebtor. Bankruptcy Ru!e 3005.
 to establish local rules
 specifying what a signature
                                  I under.stand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 is.
                                  amount of the claim. the creditor gave the debtor credit for any payments received toward the debt.
 Aperson who files a ·
 fraudulent claim could be        l have examined the information in this Proof of Claim and have a reasonable belief that lhe information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
 18 U.5.C. §§ 152,157, and        I declare under penalty of perjury Iha! ~ f g
                                                                              ~ ~.
                                                                                 1. o
                                                                                    'I ue· n~.ry-.ct.
                                                                                             g      .•
 3571.
                                                                7        </   Jl Cf).D                      /)                  )

                                                  lR: 0
                                  Executed on dale




                                           Signature
                                                                     0


                                                                                                      . C.
                                   Print the name of the person who Is completing and signing this claim:


                                   Name
                                                            Lee E. Woodard, Esq.
                                                            First name                           Middle name                            Last name


                                   Title
                                                            Attorney·

                                   Company
                                                            Harris Beach PLLC
                                                            Identify the corporate service-r as the company 1f the au1horized agent is a servicer.


                                                            333 West Washington St., Suite 200
                                   Ad.dress
                                                            Number             Street
                                                            Syracuse                                                       NY              13202
                                                            City                                                          State          ZIP Code

                                   Contact phcne            (315) 423-7100                                                Ema;t bkemail@harrisbeach.com




  Official Form 410                                                             Proof of Claim                                                                   page 3

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                      Description: Exhibit A - Claim 282, Page 4 of 41
                STATEMENT OF CLAIM AND RESERVATION OF RlGHTS OF
                                  Klein Pharmacy, Inc.
                         In re Rochester Drug Co-Operative, Inc.
                                   Case No.: 20-20230

                            Amount of Claim: Approximately $95, I 06.13

         The Claim of Klein Pharmacy, Inc. ("Claimant") is based on unpaid patronage dividends
  which became due as part of the product sales program of the debtor Rochester Drug Co-
  Operative, Inc. ("Debtor"). The amount of Claimant's claim against the Debtor is approximately
  $95,106.13. Additionally, the Debtor has filed suit against the Claimant which is currently
  pending in the Supreme Court of the State of New York, County of Westchester, under Index
  No.: 55664/2020 (the "Action").
         The amount of this claim is estimated only and is subject to further investigation.
  Accordingly, Claimant reserves its right to file an Amended Proof of Claim and/or attach or
  bring forth additional documents supporting its claim and additional documents setting forth the
  amount and classification of its claim, including but not limited to, pre-petition, attorneys' fees,
  potential indemnity obligations, amounts subject to rights of setoff and any other additional
  amounts due from the Debtor
         Nothing contained herein shall constitute (i) an admission or acknowledgement of any
  liability on the part of Claimant; or (ii) a waiver of any rights or claims that Claimant may have
  against the Debtor.




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                                                         Number:     [po
     Offeree: - - - - - - - - - -                                  -----



                      Confidential Summary Offering Statement




                                    May23,2016


                    ROCHESTER DRUG CO-OPERATIVE, INC.




                           60 Shares of Voting Common Stock
                                   $16,666 Per Share ·




      THESE SECURITIES HAVE NOT BEEN APPROVED OR DISAPPROVED BY THE
      BANKING COMMISSIONER OF THE STATE OF CONNECTICUT NOR HAS THE
       COMMISSIONER PASSED UPON THE ACCURACY OR ADEQUACY OF THE
        OFFERING. ANY REPRESENTATION TO THE CONTRARY IS UNLAWFUL.

       THESE SECURITIES CANNOT BE RESOLD UNLESS THEY ARE REGISTERED
     UNDER THE CONNECTICUT SECURITIES LAW AND BUSINESS OPPORTUNITY
      INVESTMENT ACT (THE "ACT") OR EXEMPT FROM REGISTRATION UNDER
                                 THE ACT.




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                 Description: Exhibit A - Kinney Declaration, Page 11 of 45    '
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                 Description: Exhibit A - Claim 282, Page 6 of 41
     FOR PENNSYLVANIA RESIDENTS ONLY

    IF YOU HAVE ACCEPTED AN OFFER TO PURCHASE THESE SECURITIES MADE
    PURSUANT TO A PROSPECTUS WHICH CONTAINS A WRITTEN NOTICE
    EXPLAINING YOUR RIGHT TO WITHDRAW YOUR ACCEPTANCE PURSUANT TO
    SECTION 207(M)(l) OF THE PENNSYLVANIA SECUR1TIES ACT OF 1972, YOU
    MAY ELECT, WITHIN TWO BUSINESS DAYS AFTER THE FIRST TIME YOU HAVE
    RECEIVED THIS NOTICE AND A PROSPECTUS (WHICH IS NOT MATERIALLY
    DIFFERENT FROM THE FINAL PROSPECTUS) TO WITHDRAW FROM YOUR
    PURCHASE AGREEMENT AND RECEIVE A FULL REFUND OF ALL MONIES PAID
    BY YOU. YOUR WITHDRAWAL WILL BE WITHOUT ANY FURTHER LIABILITY
    TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, YOU NEED ONl..Y
    SEND A WRITTEN NOTICE (INCLUDING A NOTICE BY FACSIMILE OR
    ELECTRONIC MAIL) TO THE ISSUER (OR UNDERWRITER IF ONE IS LISTED ON
    THE FRONT PAGE OF THE PROSPECTUS) INDICATING YOUR INTENTION TO
    WITHDRAW.

     IF YOU HAVE ACCEPTED AN OFFER TO PURCHASE THESE SECURITIES AND
     HAVE RECEIVED A WRITT'EN NOTICE EXPLAINING YOUR RIGHT TO
     WITHDRAW YOUR ACCEI'TANCE PURSUANT TO SE:CTION 207(M)(2) OF THE
     PENNSYLVANIA SECURITIES ACT OF 1972, YOU MAY ELECt WITHIN TWO
     BUSINESS DAYS FROM THE DATE OF RECEIPT BY THE ISSUER OF YOUR
     BINDING CONTRACT OF PURCHASE OR, IN THE CASE OF A TRANSACTION IN
     WHICH THERE IS NO BINDING CONTRACT OF PURCHASE,: WITHIN TWO
     BUSINESS DAYS AFTER YOU MAKE THE INIT.IAL PAYMENT •FOR THE
     SECURITIES BEING OFFERED, TO WITHDRAW YOUR ACCEPTANCE AND
     RECEIVE A FULL REFUND OF ALL MONIES PAID BY YOU. YOUR
    'WITHDRAWAL OF ACCEPTANCE WILL BE WITHOUT ANY . FURTHER
     LIABlLITY TO ANY PERSON. TO ACCOMPLISH THIS WJTHDRAWAL, YOU NEED
     ONLY SEND A WRITTEN NOTICE (INCLUDING A NOTlCE BY FACSIMILE OR
     ELECTRONIC MAIL) TO THE ISSUE~ (OR PLACEMENT AGENT IF ONE IS
     LISTED ON· THE FRONT PAGE OF THE OFFERING · MEMORANDUM)
     INDICATING YOUR INTENTION TO WITHDRAW.




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                                     CONFIDENTIAL

     THE SECURITIES OFFERED HEREBY ARE BEING OFFERED PURSUANT TO AN
     EXEMPTION FROM REGISTRATION UNDER THE SECURITIES ACT OF 1933.
     THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT HAS NOT BEEN
     SUBMITTED TO, REVIEWED OR APPROVED BY THE UNITED STATES
     SECURITIES AND EXCHANGE COMMISSION, THE ATTORNEY GENERAL OF
     THE STATE OF NEW YORK OR ANY OTHER STATE SECURITIES COMMISSION
     NOR HAVE ANY OF THE FOREGOING PASSED UPON OR ENDORSED THE
     MERITS OF THIS OFFERING NOR IS IT INTENDED THAT ANY SUCH AGENCY
     WILL DO SO. ANY REPRESENTATION TO THE CONTRARY IS UNLAWFUL.
     THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT DOES NOT
     CONSTITUTE AN OFFER OR SOLICITATION TO ANYONE IN ANY JURISDICTION
     IN WHICH SUCH AN OFFER OR SOLICITATION MAY NOT LAWFULLY BE
     MADE.



     UNDER CERTAIN EXEMPTIONS PROVIDED FOR BY FEDERAL AND STATE
     SECURITIES LAWS APPLICABLE TO THIS OFFERING, THE COMPANY IS NOT
     REQUIRED TO PROVIDE AND HAS NOT UNDERTAKEN TO PROVIDE IN THIS
     CONFIDENTIAL SUMMARY OFFERING STATEMENT THE TYPE AND KIND OF
     INFORMATION THAT WOULD BE AVAILABLE TO AN INVESTOR IF THIS
     INVESTMENT WERE SUBJECT TO THE REGISTRATION REQUIREMENTS OF
     THE SECURITIES ACT OF 1933.



     THE SECURITIES ARE OFFERED SUBJECT TO PRIOR SALE, TO WITHDRAWAL,
     CANCELLATION OR MODIFICATION OF THE OFFER WITHOUT NOTICE, TO
     THE COMPANY'S RIGHT TO REJECT ANY SUBSCRIPTION IN WHOLE OR IN
     PART AND TO APPROVAL OF CERTAIN LEGAL MATTERS BY COUNSEL TO THE
     COMPANY.



     THIS INVESTMENT INVOLVES A HIGH DEGREE OF RISK.



     THIS INVESTMENT IS SUITABLE ONLY FOR PERSONS WHO HAVE ADEQUATE
     FINANCIAL RESOURCES, WHO DO NOT ANTICIPATE THAT THEY WILL BE
     REQUIRED TO LIQUIDATE AN INVESTMENT ACQUIRED HEREUNDER IN THE
     FORESEEABLE FUTURE, AND WHO CAN AFFORD A TOTAL LOSS OF THEIR
     INVESTMENT.




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                Descnpt1on. Exh1b1t A - Kinney Declaration, Page 13 of 45 · · · '

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                 Description: Exhibit A - Claim 282, Page 8 of 41
    THE COMPANY HEREBY EXTENDS TO EACH OFFEREE THE OPPORTUNITY,
    PRIOR TO THE CONSUMMATION OF A SALE OF ANY SECURITIES TO SUCH
    OFFEREE, TO ASK QUESTIONS OF AND RECEIVE ANSWERS FROM THE
    COMPANY TO THE EXTENT THE COMPANY POSSESSES THE SAME OR CAN
    ACQUIRE IT WITHOUT UNREASONABLE EFFORT OR EXPENSE, IN ORDER TO
    VERIFY THE ACCURACY OF THE INFORMATION SET FORTH HEREIN.
    HOWEVER, ALL SUCH REQUESTS FOR ADDITIONAL INFORMATION MUST BE
    IN WRITING AND THE RESPONSES THERETO IDENTIFIED AS SUCH BY THE
    COMPANY. SEE "ADDITIONAL INFORi'1ATION". NO PERSON IS AUIBORJZED
    BY. THE . COMPANY TO GIVE ANY INFORMATION OR MAKE ANY
    REPRESENTATION IN CONNECTION WITH THIS OFFERING OTHER THAN AS
    CONTAINED lN THIS. CONFIDENTIAL SUMMARY OFFERING STATEMENT. NO
    PERSON HAS BEEN AUTHORIZED TO MAKE REPRESENTATIONS, OR GIVE ANY
    INFORMATION, WITH RESPECT TO THE SECURITIES OFFERED HEREBY,
    EXCEPT THE INFORMATION CONTAINED HEREIN. PROSPECTIVE INVESTORS
    SHOULD NOT RELY ON INFORMATION NOT CONTAINED HEREIN. NEITHER
    THE DELIVERY OF THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT
    AT ANY TIME NOR ANY SALE MADE HEREUNDER SHALL IMPLY THAT
    INFORMATION CONTAINED HEREIN IS CORRECT AS OF ANY TIME
    SUBSEQUENT TO ITS DATE.



    THIS CONFIDENTIAL SUMMARY . OFFERING STATEMENT AND THE
    INFORMATION CONTAINED HEREIN MAY NOT BE REPRODUCED OR USED iN
    ANY OTHER MANNER WITHOUT THE EXPRESS WRITTEN CONSENT OF THE
    COMPANY. BY ACCEPTING DELIVERY HEREOF, EACH OFFEREE AGREES TO
    RETURN THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT IF HE DOES
    NOT PURCHASE THE SECURITIES OFFERED HEREBY.



    THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT HAS BEEN
    PREPARED SOLELY FOR THE BENEFIT OF INVESTORS INTERESTED IN THE
    PRIVATE PLACEMENT OF THE SECURITIES OF mE COMPANY AND
    CONSTITUTES AN OFFER ONLY TO THE PERSON TO WHOM THE COMPANY
    HAS DELIVERED THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT.




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                                                SUMMARY


            Rochester Drug Co-operative, Inc. ("RDC" or the "Company'} is offering 60 shares of its
    Voting Common Stock (the "Voting Common Stock") at a purchase price of $16,666 per share.
    This Offering shall expire on March 22, 2017, unless the Company at its option elects to extend
    the offering period. This Offering has no minimum aggregate subscription amount. If all of the
    shares of Voting Common Stock offered hereby are not sold prior to March 27, 2017, the
    Company will not refund amounts subscribed for and tendered. If all 60 shares offered hereby
    are sold, the gross proceeds to the Company, prior to the payment of offering expenses, will be
    $999,960.

           The following summary highlights certain information contained in this .Confidential
    Summary Offering Statement. It does not purport to be complete. Please refer to the remainder
    of the Confidential Summary Offering Statement and the Exhibits hereto for more detailed
    information regarding the matters referred to· in this summary. Summaries of documents or
    agreements do not purport to be complete. Subject to applicable confidentiality provisions,
    copies of material agreements will be provided to prospective investors on written request.



            Rochester Drug Co-operative, Inc. is a New York Cooperative Corporation formed in
    1905 and incorporated in 1948. Its principal business is to warehouse, merchandise and then
    distribute, on ·a co-operative basis, drugs, pharmaceutical supplies and other merchandise
    commonly sold in drug stores, pharmacies and health and beauty stores, together with equipment
    and supplies commonly used in the maintenance and operation of drug stores, pharmacies, health
    and beauty stores and durable medical equipment businesses.

            RDC distributes pharmaceutical and other products, principally to pharmacies in New
    York, Pennsylvania, New Jersey, Connecticut and Ohio. The Company operates two distribution
    centers. One distribution center is located at 50 Jet View Drive, Rochester, New York 14624.
    RDC's administrative operations are also conducted from this location. The Rochester
    distribution center was constructed in 2001 to RDC's specifications. RDC operates a second
    distribution center in Fairfield, New Jersey to allow it to better serve its customers and expand its
    market presence in downstate New York, New Jersey and Connecticut. See, "BUSINESS; THE
    COMPANY; PROPERTIES". RDC's telephone number is (585) 271-7220 and its website is located
    at www.rdcdrug.com.

           RDC's sales for the fiscal year ended March 31, 2015 were $2,034,663,627. RDC's sales
    for the preceding fiscal year ended March 31, 2014 were $1,178,061,635. The substantial
    increase in sales for RDC's last fiscal year was due to various factors, including expanding
    geographic markets, increased purchases by new shareholders of the Company, increases in sales
    in generic pharmaceuticals, increases in high-priced specialty products, and an expanding
    customer base, particularly in the downstate New York, Long Island, New Jersey, Connecticut
    and Philadelphia area, which we refer to as the "Metro Markets". See, "BUSINESS; THE
    COMPANY" for a more complete discussion of these factors and their effect on ,the Company's
    sales.


                                                      1



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            RDC has three classes of capital stock authorized: Voting Common Stock, Non, Voting
    Common Stock and Preferred Stock. See, "DESCRIPTION OF SECURITIES" for a more complete
    description of the three classes of stock, their rights and preferences, and the number of shares
    issued and outstanding.

            On February 16, 2016, the Company declared a stock dividend (the "Stock Dividend"),
    payable in the form ofRDC's non-voting common stock, equal tq one share of new non-voting
    co·mmon stock for each issued and outstanding share of voting common stock as of March 15,
    2016 (the "Record Date") and one share ofriew non-voting conimon stock for each share of non-
    voting common stock issued and outstanding as of the Record Date. On the Record Date, there
    were 262 shares of voting cornmori stock and 138 shares of non-voting common stock issued and
    outstanding. Accordingly, on the Record Date, the Company issued a total of 400 new shares of
    non-voting common stock, consisting of (i) llll additional .262 shares of non-voting common
    stock, representing the dividend on the then-outstanding shares of voting common stock, and (ii)
    an additional i32 shares of non-voting common stock, representirig the dividend on the then;
    outstanding shares of non-voting common stock. On March 29, 2016, the additional shares of
    noncvoting common stock were issued to shareholders of record as of the Record Date.·
    Immediately following the issuance or' the new shares of non-voting common stock, thete were
    262 shares of the Company's voting common stock and 538 shares of non-voting common stock
    issued and outstandirig.

            As a result of the Stock Dividend, the total number of shares of the Company's common
    stock (consisting of voting common stock and non-voting common stock) has been doubled and,
    accordingly, the Company's net book value per share of common stock has been reduced by half.
    The Company calculates its net book value per share only once per year, following the
    completion of its fiscal year. As of March .31, 2015, the completion of the Company'.s last fiscal
    year, the Company's net book value per common share was $34,546 per share. On a pro forma
    basis, had the Stock Dividend been complete(! .as of March 31, 20.15, the net book value per
    common share would have been reduced to $17,273 per share.

           Shareholders are eligible to receive distributions when, as, and if declared by the Board
    of Directors of.RDC, in ·amounts related to the shareholder's purchases of pharmaceutical and
    other products from RDC and payments to RDC for other services. The amounts received by
    shareholders pursuant to these distributions, known as "patronage dividends", totale(i
    $31,068,406 for the fiscal year ended March 31, 2015. The largest patronage dividend paid to
    any single shareholder for such fiscal year was $10,567 ,92 I.

    Recent Events

           RDC's sales .for the nine months ended December 31, 2015 were. $1,792,187,355,
    compared to $1,506,119,394 for the nine months ended December 31, 2014. for ihe nine
    months ended December 31, 2015. and December 31, 2014, 75% and 77%, respeciively, of
    RDC's sales were to holders of its Voting Commqn,Stock. For the fiscal year ended March 31,
    2015, 77% of RDC's sales were to holders of its Voting Common Stock.




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     The Offering

             Voting Common Stock
             The Company is offering to sell 60 shares of its Voting Common Stock at a purchase
     price of $16,666 per share, for aggregate gross proceeds of $999,960. The book value per share
     of the Company's Voting Common Stock as of March 31, 2015, the end of the Company's most
     recently completed fiscal year, was $34,546. As a result of the Stock Dividend described above,
     the book value per share of the Company's Voting Common Stock on a pro forma basis as of
     March 31, 2015 would have been reduced to $17,273. The Company only calculates book value
     per share upon the conclusion of each fiscal year. Prospective investors are cautioned that the
     Company's net book value per share as of the date of this Confidential Summary Offering
     Statement or as of March 31, 2016 (the conclusion of the Company's current fiscal year, which
     will occur soon after the commencement of this offering) could be substantially higher or lower
     than the proforma net book value per share as of March 31, 2015 (after giving effect to the Stock
     Dividend), and therefore could be substantially higher or lower than the purchase price for the
     shares of Voting Common Stock. The shares of Voting Common Stock will have the terms
     described below, all of which should be read in conjunction with, and are qualified in their
     entirety by, the Subscription Agreement, a form of which is attached hereto as Exhibit B, and by
     the Company's Certificate of Incorporation and By-laws, which are attached hereto as Exhibit E.
     Investors are also encouraged to review the information regarding the Company's other classes of
     capital stock, set forth herein under the heading "DESCRIPTION OF SECURITIES."

             Payment for Subscription
             Any subscription tendered by a prospective subscriber must be accompanied by payment
     of the purchase price therefor, which may be paid either (i) in full by cash or check, or (ii) $8,666
     by cash or check, with the balance of $8,000 by delivery to the Company of a promissory note
     and related pledge agreement and stock power, in the forms attached hereto as Exhibits C and D,
     The Company shall have the right to reject any subscription in its sole discretion for any reason.
     Upon such rejection, all funds tendered by a subscriber shall be returned, without interest or
     deductions of any kind.

             Rights as Subscriber; Right to Receive Patronage Dividend

               If a subscriber elects to pay for a portion of the purchase price of the Voting Common
     Stock by delivering to the Company a promissory note in the form attached hereto as Exhibit C,
     the subscriber will be deemed to be a shareholder of the Company upon delivery to the Company
     of payment in the amount of $8,666 together with the promissory note, the related pledge
     agreement and stock power (in the forms attached hereto as Exhibit D), and the Subscription
     Agreement (in the form attached as Exhibit B, and as such will be entitled to receive a. pro-rata
     portion of patronage dividends to the extent declared and paid by the Company, with the amount
     thereof determined based upon the subscriber's purchases from the Company after becoming a
     shareholder. In the event the promissory note is not repaid in full by the subscriber on or prior to
     the earlier of (i) six months following its date of issuance, or (ii) March 22, 2017, the subscriber
     shall not be deemed to have earned any patronage dividend previously paid or payable with
     respect to periods on or prior to March 31, 2017, and will waive any rights with. respect thereto,
     The Company will have certain rights as a secured creditor pursuant to the pledge agreement.
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          Use of Proceeds

             The proceeds of this offering, net of legal fees, accounting fees and other expenses
    estimated to be approximately $41,500 in the aggregate, are estimated to be $958,460 (assuming
    all of the shares of Voting Common Stock offered hereby are sold) and will be used for general
    working capital purposes in the discretion of the Company's Board of Directors.

                                             RISK FACTORS

         THERE ARE SIGNIFICANT RISKS ASSOCIATED WITH AN INVESTMENT IN
    THE VOTING COMMON STOCK. AN INVESTMENT IN THE SECURITIES
    OFFERED HEREBY IS SUITABLE ONLY BY PERSONS WHO CAN AFFORD THE
    LOSS OF THEIR ENTIRE INVESTMENT. PROSPECTIVE INVESTORS SHOULD
    CAREFULLY CONSIDER, AMONG OTHER THINGS, THE FOLLOWING RISK
    FACTORS:

    Competition
           The Company engages in a very competitive business. Its principal customers are
    independent pharmacies. Larger and better-capitalized competitors may offer the Company's
    customers prices or ancillary service, which the Compaliy cannot afford to meet. the trend in
    the industry is toward increasing consolidation of pharmacies in large drug or food store chains.
    The Company believes that independent pharmacies have recently been gaining increased
    popularity. However, if the trend towarc! consolidation continues, it could result in a decline in
    the number of independent pharmacies, which comprises the Company's primary market. See,
    "BUSJNESS"; "THE COMPANY"; "COMPETITION".

    No Registration; Restrictions on Transferability
            the shares of Voting Common Stock being offered hereby are not registered under the
    Securities Act of 1933, as amended, or under any state securities laws. None of such shares. may
    be sold, transferred or assigned except pursuant to valid registration statements filed under these
    statutes, or exemptions therefrom.

            Other restrictions on the ·transferability of the Company's stock exist in the Company's
    Certificate of Incorporation and By-laws, including a provision permitting the Company's Board
    of Directors to refuse to consent to a transfer of any shares of Common Stock if the holder is
    indebted to the Company. The Company has a right to purchase certain shares of its capital
    stock which a holder desires to transfer upon certain terms more fully set forth herein under the
    heading "DESCRIPTION OF SECURITIES". There can be no· assurance, however, that the price
    required to be paid by the Company      will  equal or exceed the price at which a willing buyer
    would purchase such shares. There also can be no assurance that the Board of Directors will
    determine that it is in the best interests of the Company to repurchase shares at any particular
    time. In addition, New York law prohibits a repurchase of shares except from surplus or if a
    corporation is or would thereby be rendered insolvent. See, "DESCRIPTION OF SECURITIES".




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     Stock Subject to Redemption

             Shares of Voting Common Stock, Non-Voting Common Stock and Capital Stock
     (Preferred) which are held by persons or entities who do not own a licensed pharmacy or who
     have not made purchases of at least $500,000 during the preceding fiscal year may have their
     shares redeemed, at the option of the Company at a price determined in accordance with the
     Company's By-laws and Certificate of Incorporation, and generally equal to (i) with respect to
     shares of Voting Common Stock and Non-Voting Common Stock, the net book value per share,
     less amounts owed by the Shareholder (directly or indirectly) to the Company, plus declared and
     unpaid dividends, and (ii) with respect to Capital Stock (Preferred), the par value of such shares,
     less amounts owed by the Shareholder (directly or indirectly) to the Company, plus any declared
     and unpaid preferred stock dividends thereon. A subscriber in this offering.. will be subject to the
     minimum annual purchase requirement for the Company's current fiscal year, pro-rated to reflect
     the portion of the Company's fiscal year during which a subscriber is a shareholder of the
     Company. Although the net book value per share of the Company's capital stock has increased
     over the past ten years, there can be no assurance that net book value will continue to increase.
     Shares of Voting Common Stock, Non-Voting Common Stock and Capital Stock (Preferred)
     held by a Stockholder who (directly or indirectly) is indebted to the Company with respect to any
     amounts which are more than 180 days past due may also be called for redemption, with the
     price determined in the manner set forth above (with any such amounts otherwise payable
     reduced by the amount of the Stockholder's indebtedness to the Company).

              As a component of the minimum purchase obligations set forth in the Company's By-
      laws and Certificate of Incorporation and described above, an investor in this Offering is
      required, as a condition to its subscription for Voting Common Stock, to agree to make and pay
      for purchases from the Company, during each of the five (5) fiscal years of the Company
      beginning with the fiscal year commencing April I, 2016 (the "Five Fiscal Year Period"), of
      generic pharmaceutical products having an aggregate purchase price of not less than $100,000
      (the "Minimum Generic Purchase Requirement"). The $ I 00,000 Minimum Generic Purchase
      Requirement is not intended to increase the aggregate dollar amount of the minimum purchase
     ·requirements set forth in the Company's By-laws and Certificate of Incorporation. Upon any
     default of the Minimum Generic Purchase Requirement, the Company may elect to redeem and
      repurchase the shares of Voting Common Stock held by the investor upon written notice given
      within one hundred eighty (180) days following the conclusion of any of year during the Five
      Fiscal Year Period. The purchase price for any repurchase of Voting Common Stock pursuant as
     a result of a failure to meet the Minimum Generic Purchase Requirement shall be equal to the
     lesser of (i) the amount originally paid by the investor to purchase the shares of Voting Common
     Stock from the Company, or (ii) the book value per share of Voting Conunon Stock as of the last
     day of the fiscal year for which the Minimum Generic Purchase Requirement was not met, as
     determined by the Company's independent auditors. The purchase price for any repurchase of
     Voting Common Stock upon a failure to meet the Minimum Generic Purchase Requirement shall
      be increased by the amount of any previously declared and unpaid dividends, and reduced by any
     amounts owed by the shareholder to the Company.

            The Company's Board of Directors is not required to cause the Company to repurchase
     the shares of Common Stock at any time. Investors should not expect to have their shares of
     Common Stock repurchased at any time. See, "DESCRIPTION OF SECURITIES".

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     Patronage Dividends Uncertain; Significant Investment In Fairfield, New Jersey
     Distribution Center Mav Reduce Patronage Dividends

             As a cooperative corporation, the Company may, at the discretion of the Board of
     Directors, pay pro-rata patronage dividends to its shareholders based on their purchases from the
     Company during a given period. A prospective investor is unlikely to receive significant return
     on his investment unless such investor conductf substantial business with the Company. In
    addition, if the Company's retained earnings in any year are not sufficient to establish adequate
    rese.rves, the Board of Directors may determine riot to pay any patronage dividends. Patronage
    dividends have been paid annually since 1986, but were not paid for a nUlllber of years before
    that time. There can be no assurance that patronage dividends will be paid at any time in the
    future or, if paid, will be at levels similar to those previously paid. The significant investments
    the Company has made and is continuing to make in connection with the opening of its second
    distribution center in Fairfield, New Jersey are expected to reduc·e the amounts otherwise payable
    as patronage dividends for the Company's next few fiscal years. See "BUSINESS; THE COMPANY;
    PROPERTIES".. In addition, if a subscriber elects to pay for a portion of his subscription by the
    delivery of a promissory note in the form attached hereto as Exhibit C, and the promissory note
    is not repaid in full by the subscriber on or prior to the earlier of (i) six months following its date
    of is~uance, or (ii) March 22, 2017, the subscriber will not be deemed to have earned any
    patronage dividend pay~ble with respect to periods on or prior to March 31, 2017, and will waive
    any rights with respect thereto. See, "BUSINESS"; "THECOMPANY"; "DIVIDEND POLICY".

    Dependence on Certain Suppliers

             The Company purchases its pharmaceutical and other products from a number of
    manufacturers. Manufacturers generally offer drugs to all wholesal.e distribu.t.ors on substantially
    similar. terms with discounts for larger volume orders. Nearly all patented pharmaceutical
    products are only available from one manufacturer, the loss of any one of which might adversely
    affect the Company's business. The Company does not currently anticipate that it will be unable
    to purchase ·any pharmaceuti~al product, since the Company may purchase such products from
    either wholesalers. See, "BUSINESS"; "THE COMPANY; OVERVlEW".

    Increase in GenerkPharmaceuticals

            The increased availability of generic pharmaceuticals has reduced the Company's
     revenues on branded pharmaceuticals, as patent. protection expires and lower-priced generic
    versions of those products are introduced to the market. In recent years, patent protection has
    expired on a number of high volume, high priced pharmaceuticals, which has reduced the
    Company's revenue from the sale of those branded products. However, the Company has been
    successful in increasing the volume of its generic product sales, and its customer base, which has
    offset the reduction in revenue from branded products. The sale of generic products, with higher
    margins, produces increased profits for the Company. The expiration of patent protection .also
    increases the competition by vendors of generic pharmaceuticals, which can result in retailers
    purchasing from multiple sources, thus reducing the loyalty of the Company's customer base.
    The Company believes it has implemented effective strategies to deal with the increasing
    availability of generic pharmaceuticals, but there can be no assurance that those strategies will be
    fully effective to· counter the reduced· revenue and· increased ·competition- that results· from
    increasing availability of generic pharniaceuticals. See, "BUSINESS"; WHOLESALE DRUG
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     INDUSTRY GENERALLY".

     Dependence on Certain Customers; Dependence on Metro Markets

              For the nine month period ended December 31, 2015, approximately 51% of the
     Company's sales were to its 15 largest customers. Further, approximately 25% of the
     Company's total sales were to customers who were not also shareholders of the Company.
     During its fiscal year ended March 31, 2015, approximately 47% of the Company's sales were to
     its 15 largest customers, including approximately 25% of the Company's sales to a group of
     affiliated entities. In addition, during such fiscal year approximately 23% of the Company's total
     sales were to customers who were not also shareholders of the Company. In recent years the
     percentage of Company sales represented by the Company's largest customers has increased, and
     this trend may continue. The loss of any significant customer could have a material adverse
     effect on the Company's business and results of operations. In addition, the Company's sales in
     the Metro Markets has increased significantly in recent years, in total dollar volume and as a
     percentage of the Company's total sales. Between fiscal year 2011 and fiscal year 2015, the
     percentage of the Company's overall sales volume from customers in the Metro Markets has
     increased from approximately 51.5% to approximately 72%, and is expected to continue to
     increase. While the Company believes that its opening of the Metro Markets distribution center
     will allow it to continue to expand its market share within the Metro Markets and better serve the
     needs of its existing customers, there can be no assurance that the Company will be able to
     further expand its presence in the Metro Markets or otherwise capitalize on the ·significant
     investment associated with the Metro Markets distribution center.

     Regulatory Compliance

            Wholesale drug distributors are subject to licensing and regulatory requirements by
    federal and state government agencies. Failure to obtain proper licenses or to comply with
    applicable regulations could result in fines or penalties to the Company, or loss of licenses. In
    recent years,. compliance with DEA and other regulations, including "Know Your Customer"
    requirements, has become more costly and administratively burdensome.              Although the
    Company has a compliance program with strict record keeping to monitor ongoing compliance,
    any failure of compliance would have a material adverse effect on .the Company and its
    operations. See, "BUSINESS"; "THE COMPANY"; "REGULATORY MATTERS".

    ·No Minimum Aggregate Subscription Amount
            This Offering has no minimum aggregate subscription amount. Accordingly, if
    subscriptions for less than the full amounts offered hereby are received, the Company will not
    refund amounts subscribed for or tendered. In that event, the Company may need to seek
    alternative methods of financing and there can be no assurance that such financing would be
    available or, if available, would be on terms acceptable to the Company.        In addition, if
    subscriptions for less than the aggregate amount offered are received, expenses of the Offering
    will not decrease. · As such, the percentage of gross proceeds of the Offering used to pay the
    expenses of the Offering will increase. See, "DESCRIPTION OF SECURITIES".




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     Broad Discretion in Application of Proceeds

            All of the net proceeds of this Offering will be used for general working capital purposes.
     Accordingly, the Company's management will have broad discretion as to the application of
     such proceeds. See, "USE OF PROCEEDS".


                                                 BUSINESS

    Wholesale Drug Industry Generally

            Total wholesale drug industry revenues in the United States have increased steadily, from
    an estimated $1 l.9 billion in 1981 to approximately $350 billion in 2014, according to the
    Director of the Healthcare Distribution Management Association. This growth has occurred
    principally due to the aging of the nation's population, escalation of hospital costs with resultant
    emphasis on outpatient treatment, and the proliferation of both pharmaceutical products and
    retail outlets for such products. The Company believes that the wholesale drug business is not
    significantly affected by general economic cycles.

            Wholesale drug distributors have increased their share of the total sales of pharmaceutical
    products. Industry sources estimate that the wholesale distributors' share of the pharmaceutical
    market increased from approximately 45% in 1974 to 91.4% in 2014. The Company has
    benefited from this trend as manufacturers and customers increasingly have relied upon the
    distribution capabilities of drug wholesalers to make a consistent supply of products available to
    retail outlets. By doing so, manufacturers reduce costs by relying on distributors rather than
    shipping small quantities to many customers.

            Orug stores, hospitals and other phannaceutical retailers have a continuing need for the
    immediate availability of a wide variety of he.al th care products without the high cost of carrying
    large inventories. Many of these retailers have been turning to wholesale distributors to take
    advantage of rapid delivery, more support services and competitive prices. Customers can
    generally place smaller orders and receive more rapid delivery from wholesale distributors than
    from manufacturers, thereby reducing the customer's inventory carrying costs. The industry
    trend toward increased automation and computerization have led drug wholesalers to develop a
    variety of information processing services. Furthermore, full service distributors such as the
    Company offer a broad range of products from many manufacturers and a variety of marketing
    and management services generally not available from manufacrurers.

           In recent years, there has been a trend toward consolidation in the wholesale drug
   industry, as evidenced by the purchase of smaller distributors by major wholesalers. In addition,
   the growth of hospital buying groups, proprietary hospital chains, mass merchandisers and
   drugstore chains has created a demand for wholesalers with wide geographic distribution
   capabilities to serve various locations. Smaller wholesalers, like the Company, must compete
   with larger wholesalers to offer competitive prices and services, operating efficiencies and
   marketing programs. At present, the Company's primary competition includes three national
   wholesale drug companies, each of which has sales in excess of $90 billion annually. The
   Company competes against-each of these competitors in all of the·markets it serves.


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             The wholesale drug industry generaUy, and the Company in particular, have been
     significantly impacted by the increasing availability of generic pharmaceuticals. Upon
     expiration of patent protection on branded pharmaceuticals, generic versions ·of those products
     are introduced to the market, at substantially reduced prices. This results in an immediate
     decrease in the dollar volume of sales by pharmaceutical wholesalers. In addition, while there is
     little price differential among suppliers of branded pharmaceuticals, there is substantial
     variability in the price at which generic pharmaceuticals can be purchased from competing
     vendors. This variability in price can cause retailers to purchase generic pharmaceuticals from
     multiple sources. In recent years, patent protection has expired on a number of high-volume,
     high-priced branded phannaceuticals. The Company has been able to offset the reduction in
     revenue from branded products through strong growth in its customer base and in its overall
     quantity of pharmaceutical products sold.

     The Comnany

             Overview

             The Company is a wholesale distributor of pharmaceutical and other products, principally
     to independent pharmacies and drug stores. Over 21,000 different products, including
     prescription and over-the-counter drugs, health: and beauty aids, sundries and home health care
     equipment are distributed from the Company's current distribution center located in Rochester,
     New York. The Company serves over 1,200 independent pharmacies and home health care
     dealers in New York, Pennsylvania, New Jersey, Connecticut and Ohio. In addition, the
     Company is seeking to expand its distribution to include independent pharmacies and home
     health care dealers in Massachusetts, Delaware, Maryland, and Vermont.

              The Company purchases from and distributes the merchandise of about 600 suppliers
     including every major manufacturer in the industry. The Company's largest suppliers are Pfizer,
     Glaxo SmithK.line, Astrazeneca, Teva Pharmaceuticals, Eli Lilly, Gilead Sciences, Inc., Janssen
     Pharmaceuticals, Insys Therapeutics, Merck, and Bristol Myers. For the nine months ended
     December 31, 2015, non-shareholder customers accounted for 25% of the Company's net sales.
     During the fiscal year ended March 31, 2015 non-shareholder customers accounted for an
     aggregate of approximately 23% of the Company's net sales. See, "RISK FACTORS -
     DEPENDENCE ON CERTAIN CUSTOMERS; DEPENDENCE ON METRO MARKETS". The Company is
     highly dependent on its largest customers, with its single largest customer (consisting of a group
     of affiliated entities) accounting for approximately 25% of the Company's net sales during the
     fiscal year ended March 31, 2015.

            Customers

             During the past several years, the Company has achieved significant growth in its.
     customer base in downstate New York, Long Island, New Jersey, Connecticut and the
     Philadelphia area (the "Metro Markets"). During 2015, the Company opened a second
     distribution center in Fairfield, New Jersey to allow it to better serve and expand its customer
   . base in the Metro Markets. See "BUSINESS; THE COMPANY; PROPERTIES",

            The Company's for_ce of 19 regular sales persons_ llla.intains_ frequent per~onal customer
     contacts. The Company owns one delivery van and owns approximately 29 cars, used for
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    deliveries, by its sales force and members of management. The majority of the Company's
    deliveries are accomplished through contract carriers. The Company's current and anticipated
    distribution centers are located to enable RDC to fill substantially all orders at night, and deliver
    the next business morning, allowing customers to replenish pharmacy inventory on a daily basis.

            In addition to supplying pharmaceutical and over-the-counterproducts to its customers,
    the Company also provides. both shareholder and non-shareholder customers with merchandising
    assistance, store management computer programs, advice and assistance as to store layouts,
    promotions, store opening programs, durable medical equipment programs and cooperative
    advertising programs, pricing and marketing strategies.

            The Board of Directors has authorized the Company to make Joans to independent
    phannacies for a variety of needs, to encourage the success of independent pharmacies. Over the
    past ten years, the Company has loaned funds to pharmacies to provide assistance ranging from
    computerization of inventory and records, covering cash flow shortfalls, promoting store
    openings and renovation and stocking of new pharmacies. As of December 31, 2015, the
    Company had outstanding loans in an aggregate amount of $10,179,574 to 105 pharmacies,
    which loans are due to be repaid in one to three years with interest at interest rates per year equal
    in most cases to the prime rate plus up tci 2%. As collateral for these loans, the Company
    gen~rai!y takes a security interest in personal property of the borrowing pharmacies and receives
    personal guarantees from its principals.

            IT Systems

           The Company's primary system platform is based on IBM's midrange computers
    formerly known 'AS/400, now called Power Systems. The Company maintains computer
    systems and back-ups at its distribution centers. The Company utilizes an Enterprise Resource
    Planning (ERP) system for both warehouses, order entry system for both warehouses, and the
    Warehouse Management System (WMS) for the Rochester warehouse.

           The Company maintains a Disaster Recovery Plan which is implemented in the event of a
    system failure at one of its distribution centers.

            SSI Schaefer has becoine a villuable partner to RDC. SSI Schaefer is the world's leading
    supplier of high-quality automated systems for warehouse production and picking. Their
    systems installed in both warehouses have allowed the Company's operations to grow with great
    efficiency and have facilitated marketplace expansion.

           Approximately 98% of the Comp(llly's orders are placed by means of electronic order
    entry via a specialized web interface, direct electronic interchange with phannacy systems, or
    mobile scanning equipment. The balance of orders are processed manually by phone, handheld
    modems, or facsimile. All orders are received at the Rochester facility, and then sent to the
    appropriate warehouse for fulfillment.

            To comply with FDA's supply chain requirements as outlined in the Drug Supply Chain
    Security Act of 2013 (DSCSA), the Company partnered with TraceLink, a .firm that manages a
    large·cfoud~liased Track arid Trace netwo'rk of pharifulceutical"maniifilct\trers and dtstrloutorn,n
    Amazon's Web Services platform. To date, over 70% of the Company's pharmaceutical
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     manufacturers have integrated their electronic Advance Ship Notices (ASN's) to the TraceLink
     network. The remaining 30% are uploaded manually from paper documents captured at
     Receiving.

            Employees

              At December 31, 2014, the Company employed approximately 165 persons in a variety
     of skilled and unskilled positions. RDC considers its relations with employees to be good. The
     Company sponsors a defined contribution 401 (k) Retirement Plan for the benefit of its full-time
     employees. Employees are eligible to participate in the Plan after one year of service with the
     Company. This Plan allows the participating employee to defer a portion of their compensation,
     subject to Internal Revenue Code limitations. The Company's policy is to match employee
     contributions at 100 percent, up to a maximum of 5% of eligible compensation. In addition, the
     Company has in prior years voluntarily distributed bonuses to its employees based upon
     Company profits. The Company is not obligated to continue such payments by any formal
     agreement, and can modify or discontinue such payments at any time.

            Optbiource

              The Company is a member of OptiSource, LLC, an industry buying group that focuses on
     generic pharmaceuticals. There are currently 13 members of OptiSource. RDC and other
     members of OptiSource make purchases from suppliers, based upon pricing and other terms
     (including supply levels, payment terms, and return policies) negotiated by OptiSource for the
     benefit of its members. The suppliers pay to OptiSource fees based on the sales and other
     criteria made to OptiSource members by the generic pharmaceutical supplier, and OptiSource
     makes distributions to its members. The business and affairs of OptiSource are managed by the
     President of OptiSource in consultation with a five (5) member Operating Committee. Laurence
     Doud, the Company's Chief Executive Officer, serves on OptiSource's Operating Committee.
     Under its membership agreement, the Company is entitled to distributions, if any are declared,
     based on its purchases. The amount and timing of distributions, if any, by OptiSource to its
     members are subject to approval by the OptiSource President and the Operating Committee, and
     a 2/3 vote of its members. The distribution that the Company received from OptiSource for its
     fiscal year ended March 31, 2015 is reflected in the Company's financial statements attached
     hereto as Exhibit A. The Company believes that its participation as a member of OptiSource can
     help in its efforts to address the financial effects of increasing volumes of generic
     pharmaceuticals.

            Quality Care

             The Company owns an approximately 0.3% interest in Pharmacy Productions, Inc., a
     voluntary organization which does business as Quality Care Pharmacies ("Quality Care").
     Quality Care is owned by the Company and by approximately 310 member pharmacies.
     Additionally, there are approximately 300 affiliated member pharmacies, which do not hold an
     ownership interest. Quality Care was organized· to provide independent pharmacies with a
     common marketing identity, group advertising, promotional activities, and group purchasing,
     including a rebate program under which Quality Care members earn up to an additional 5% on
     generic purchases. Laurence Doud, the Company's Chief Executive Officer, has been, since its
     inception, President of Phannacy Productions, Inc. and is a permanent member of its Board of
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    Directors. All Quality Care pharmacies are customers of the Company who make minimwn
    purchases from the Company of $50,000 per month, or $6,000 per month in generic
    phahnaceuticals. Approximately 87% and 88% of the Company's net sales for the nine months
    ended December 31, 2015, and for the fiscal year ended March 31, 2015, respectively, were to
    Quality Care pharmacies. Quality Care receives payments from the Company in amounts equal
    to 0.25% of purchases by the Quality. Care pharmacies from the Company, plus the generic
    rebate described above. Those payments totaled $12,495,278 and $8,441,246 for the fiscal years
    ended March 3 l, 2015 and March 31, 2014, respectively.· Those payments totaled $10,536,553
    and $9,345,642 for each of the nine month periods ended December 31, 2015 and December 31,
    2014, respectively.

            Wholesale Alliance
            RDC is also a founding member and owns approximately 14.7% of the Wholesale
    Alliance, LLC, which conducts business as Pharmacy First, and is a national group of
    independent regional pharmaceutical wholesalers. Wholesale Alliance, LLC owns a subsidiary,
    Third Party Station, which services and handles third party billing for members of Wholesale
    Alliance, LLC. Pharmacy First also provides services to its participating independent
    pharmacies through the development of market share incentive programs that provide members
    the ability to earn performance-based rebates directly from Pharmacy First.

            Legal Proceedings

             The Company is a party to various legal actions arising out- of the normal course of its
    business, including collection matters. In addition, the Company is sometimes subject to
    investigations and information subpoenas· conducted or issued ·by various governmental or
    regulatory agencies. The Company believes that the ultimate resolution of those actions and
    proceedings will not have a material adverse effect on its financial position, results of operations
    or its liquidity.

          Financial Statements

            The financial statements attached as Exhibit A to this Memorandum include the
    unaudited financial statements as of and for the nine months ended December 3 l, 2015. The
    financial statements of RDC as of and for the years ended March 31, 2015 and 20 l 4, included in
    this Confidential Summary Offering Statement, have been audited by Deloitte & Touche LLP,
    independent auditors, as stated in their report appearing herein. Potential investors are urged to
    review the unaudited interim financial statements and the audited financial statements (together
    with the notes thereto) in their entirety.

          Financing

           On December 10, 2014, The Company entered into an Amended and Restated Credit
   Facility Agreement (the "Credit Facility Agreement") with Manufacturers and Traders Trust
   Company, as agent for itself and certain other lenders ("M&T Bank" or the "Bank"). The Credit
   Facility Agreement was amended on January 21, 2016. Pursuant to the Credit Facility
   Agreement; as· amended; the· Company may ·borrow,· subject to· certain·· limitations, up· to
   $215,000,000. The Credit Facility Agreement provided for interest equal to the prime rate
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     announced from time to time by M&T Bank or, at the Company's option, at various LIBOR
     interest rates plus 1.50%. The Credit Facility Agreement terminates October 31, 2018 unless an
     event of default occurs prior to that date. As of December 31, 2015, the Company had
     borrowings of $140,000,000 at LIBOR interest rates with an effective rate of 1.94%. The Credit
     Facility Agreement also requires the payment by RDC of certain administrative fees and unused
     line fees to the Bank. As of December 31, 2015, taking into account the limitations contained in
     the Credit Facility Agreement, the Company was authorized to borrow $185,000,000, of which
     $140,000,000 was outstanding under the Revolving Line of Credit. The Company's borrowings
     from M&T Bank are secured by the Company's accounts receivable, inventory and equipment.

             As of March 31, 2015 and March 31, 2014, the Company has on deposit from its
     shareholders and others affiliated with the Company a total of approximately $5,162,258 and
     $5,508,338, respectively. These amounts represent general unsecured obligations of the
     Company. The Company uses these funds for general working capital. The Company pays
     interest quarterly based upon a variable rate of .5% below the Company's borrowing rate on its
     bank debt.

           Competition

            The wholesale drug business is very competitive and almost all drug stores, including
     pharmacies served by the Company, buy regularly from at least two wholesale drug distribution
     companies. The Company faces strong competition in both price and service from national,
     regional and local full-line, short-line and specialty wholesalers, service merchandisers, and from
     manufacturers engaged in direct distribution.

           · The Company's principal market is independent pharmacies. Throughout the Company's
     market areas and much of the United States, drug store ownership is increasingly concentrated in
     large chains, which negotiate volume discounts with manufacturers and large wholesalers.
     Hospital pharmacies and nursing homes frequently form cooperatives, which negotiate terms for
     purchases from wholesalers and drug manufacturers. In the Rochester, New York area, for
     example, three hospital and nursing home buying organizations dominate the sales to hospitals
     and institutions. The Company's competitive strategy includes focusing on independent
     pharmacies, frequency of personal contacts with customers, speed and accuracy of service,
     meeting price compelition and providing ancillary services to members and other customers.

           Regulatory Matters

             The Company's distribution center is licensed by the U.S. Food and Drug Administration
     ("FDA"), and the U.S. Department of Justice, Drug Enforcement Administration ("DEA").
     Additionally, the Company is licensed by state regulatory authorities and pharmacy boards for
     the states in which it operates, and each state into which .it ships pharmaceutical products. Its
     operations are subject to the regulatory jurisdiction of various federal and state agencies,
     including the FDA, DEA, the U.S. Department of Agriculture, the Environmental Protection
     Agency, the Occupational Safety and Health Administration and state pharmacy boards. Like
     other wholesale drug distributors, the Company is subject to a variety of requirements, including
     guidelines on storage, handling and records maintenance and, with respect to controlled
     substances; specific labeling, packaging. and record keeping requirements. The. Company
     maintains a compliance program with strict record keeping to monitor ongoing compliance, and
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     believes it is in compliance with each of these regulations.

             Dividend Policy ·

            The Company's Preferred Stock bears a non-cumulative preferred dividend of 5% per
     year. No dividend may be declared or paid for any fiscal year on the Company's Voting or Non-
     Voting Common Stock l\lltil provision is made for payment of the preferred dividend.

           The patronage dividend is calculated annually based upon the Company's earnings
    during the most recently concluded fiscal year. Once the aggregate amount of the patronage
    dividend pool has been established, it is allocated to the Company's shareholders based upon
    their purchases. The Company had insufficient earnings from which to pay dividends in a
    number of years prior to 1986, but has paid a patronage dividend in each year since 1986.

            Approximately 76% of the Company's sales during the fiscal year ended March 31, 2015
    were to holders of its Voting Common ~tock, which own or operate a licensed pharmacy.
    Shareholders are eligible to receive distributions when, as and if declared by the Board of
    Directors of the Company, in amounts related to the shareholder's purchases of pharmaceutical
    and other products from the Company and payments to the Company fo( other services. These
    distributions, known as "patronage dividends", totaled $31,068,406. · The largest patronage
    dividend paid to· a single shareholder for the fiscal year ended March 3 I, 2015 was $10,567,921.

             The following table sets forth the aggregate patronage dividends paid during the past five
    years:

                Fiscal Year Ended        Patronage. Dividend           Patronage Dividend As
                    March 31,                                           Percentage of Each
                                                                      Shareholder's Purchases
                                                                            FromRDC
                       2011                   $8,600,000                        1.73%
                       2012                   $12,j98,418                       2.00%
                      .2013                   $14,178,971                       2.16%
                       2014                   $19,400,000                       2.10%
                       2015                   $31,068,406                       2.00%

            There can be no assurance that funds will be available to pay patronage dividends in any
    year. To the extent that such funds are available, a shareholder can increase its patronage
    dividend by increasing its purchases from the Company. For· the fiscal year ended March 3 I,
    2015, the Company's overa!J profitability increased due to expanding geographic markets,
    particularly in the Metro Markeis, increased purchases by new shareholders, stricter control of
    selling, general and administrative expenses, and incre;ised generic sales. Certain of .these
    positive factors were offset by the loss of sales of products for which patent protection expired,
    increased delivery expenses and the continued closure of independent pharmacies and sales of
    independent pharmacies to nationahetallers. There can be·i10· assurance ·that' thesir facf<itS will
    not continue to exist and impact the Company's profitability and its ability to pay patronage
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     dividends .

             . In 2015, the Company opened a second distribution in Fairfield, New Jersey to allow it to
     expand its market share in and better serve the needs of its existing client base within that Metro
     Markets. The acquisition, retrofitting, and equipping of the Metro Markets distribution center
     cost approximately $30,000,000. These costs, together with the additional ongoing operating
     expenses related to payroll, occupancy, utilities, other leasing costs and the funding of working
     capital needs, are anticipated to negatively affect the Company's riet profitability, and thus its
     ability to pay patronage dividends at rates consistent with the prior five (5) years, during the
     initial period following commencement of operations at the Metro Markets distribution center.
     When the Company commenced operations at ·the Metro Markets distribution center, it
     anticipated that its net profits would decrease during at least the first three fiscal years following
     its geographic expansion, and that the aggregate amount available to pay patronage dividends
     would thus be reduced for its fiscal years ended March 31, 2016, March 31, 2017 and March 31,
     2018. There can be no assurances of any particular level of profitability or that any amounts will
     be available to pay patronage dividends for any period.

             If a subscriber in this Offering elects to pay for a portion of his Voting Common Stock by
     delivering to the Company a promissory note in the form attached hereto as Exhibit C, the
     subscriber will be deemed to be a shareholder of the Company upon making partial payment and
     delivery to the Company of the promissory note, the related pledge agreement and stock power
     (in the form attached hereto as· Exhibit D), and the Subscription Agreement, and as such will be
     entitled to receive patronage dividends based upon its purchases from the time it becomes a
     shareholder. However, in the event the promissory note is not repaid in full by the subscriber on
     or prior to the earlier of(i) six months following its date of issuance, or (ii) March 22, 2017, the
     subscriber will not be deemed eligible to receive any patronage dividend previously paid or
     payable with respect to periods on or prior to March 31, 2017 and will waive any rights with
     respect ihereto. The Company will have certain rights as a secured creditor pursuant to the
     pledge agreement.

             Pursuant to its Certificate of Incorporation and Bylaws and to the fullest extent permitted
     by law, the Company is expressly authorized to offset against and reduce the amount of any
     patronage dividends otherwise payable to a stockholder who, directly or through entities
     controlled by the stockholder, is indebted to the Company with respect to arnowits more than 60
     days past due.

           Propert/eg

           Rochester Distribution Center:

              RDC owns an approximately 67,000 square foot office and warehouse/distribution
     facility located at 50 Jet View Drive, Rochester, New York. The building contains a separate
     narcotics vault and cage constructed and maintained in accordance with DEA standards.

            The Company moved to its Rochester distribution center location in early 2001.
             The Rochester. facilit)' is. located on approiimawly 11 acres in the Jet _Vie~ Bu,;iness Park
     in Chili, New York. The facility includes a 55,000 square foot warehouse with 24-foot ceilings,
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     together with approximately 12,000 square feet of office space. The building also includes a
     19,000 square foot mezzanine level over a portion of the space, constituting additional
     warehouse space. There is sufficient additional real property to allow for future expansion of the
    facility. The warehouse in· this facility is state of the art and includes an automated conveyor
    system, which is currently in the process of being enhanced. The first floor of the warehouse of
    this facility stores items that represent a substantial percentage of the Company's sales, and the
    mezzanine is arranged for "open stock picking". In addition, all invoices and labels are printed
    at the staging area. Moreover, the Company makes use of radio frequency technology
    throughout its warehouse operations. The Company has installed a state-of-the-art voice directed
    warehousing and picking system to maximize the productivity, speed, quality control and
    accuracy of its warehouse operations including stocking inventory and filling customer orders,
    and has further expanded its warehousing efficiency through the installation of an SSI computer-
    driven automated conveyor system. The Company· has installed a new emergency generator and
    associated automatic transfer switch, distribution panel, and wiring to address its emergency
    power and data center backup power needs. The Company believes its facility improvements
    greatly modernize the Company's processes and efficiencies, will allow the Company to further
    increase its sales volume and capacity, and will assist. the Company in its efforts to achieve
    continued growth in its existing markets.

          Metro Markets Distribution Center:
                    '·\

            During the past several years, the Company has achieved significant growth in its
    customer base ·in downstaie New York, Long Island, New Jersey, Connecticut and the
    Philadelphia area (the "Metro Markets''). Between fiscal year 2011 and fiscal year 2015, the
    percentage of the Company's overall sales volume attributable to customers-in the Metro New
    York Market has grown from approximately 51.5% to approximately 72%, and 1s expected to
    continue to increase. The Company's sales to customers located in the Metro Markets for the
    first nine months of its current fiscal year were approximately $1,426,000,000 compared to
    approximately $1,183,000,000 for the first nine months of the prior fiscal year, representing an
    increase of approximately 20.5% ..

             Because of the distance between its Rochester distribution center and the Metro Markets,
    the Company faced increasing challenges in delivering products on a timely and cost effective
    basis to customers in the Metro Markets. In response, the Company purchased a building in
    Fairfield, New .Jersey in July, 2014. and opened its Metro Market distribution center at that
    location in July, 2015, thus allowing the Company to better serve and expand its customer base
    in the Metro Markets. The new facility is approximately 106,000 square feet. The acquisition,
    retrofitting, and equipping of the Metro Markets distribution center cost approximately
    $30,000,000. The opening and testing phase of the new facility started in late July, 2015.
    Approximately 40 Metro customers agreed to be part of the beta testing phase, which was
    completed in January, 2016. There are now approximately 600 customers serviced out of the
    Metro Markets facility. The Company believes that a Metro Markets distribution center will
    allow it to better serve the needs of its existing client base within the Metro region, as well as
    geographical expansion into additional markets. The Company is working to use excess capacity
    created at the Rochester distribution center as a result of the opening of the Metro Markets
    distribution center by strongly pursuing new sales opportunities in Ohio and Pennsylvania.


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                                           USE OF PROCEEDS

            The Company estimates net proceeds of the offering to be approximately $41,500, after
     deduction of legal fees, accounting fees, and other expenses in the aggregate amount of
     approximately $958,460, and assuming that all of the shares of Voting Common Stock offered
     hereby are sold. The Company intends to use the net proceeds of the offering for general
     working capital needs, as determined in the discretion of the Board of Directors.


                                       DIRECTORS AND OFFICERS

            The Company is managed by a nine-person Board of Directors elected by the
     shareholders of the Company. Directors serve for three-year terms and three members of the
     Board are elected annually. Each Director must be a shareholder, and must own or operate a
     licensed pharmacy.

             The Directors elect the President, Vice President, Secretary, Treasurer and any other
     officers the Directors, consider necessary. The President and Vice President must be members of
     the Board of Directors. Directors are compensated at the rate established from time to time by
     the Board of Directors, and currently fixed at $1,500 for each Board meeting attended, plus $100
     per committee meeting attended, and $100 for anyone traveling more than two hundred miles to
     attend the meeting. The composition of the Company's committees as of the date of this
     memorandum is as described below. Conunittee composition is determined by the Board of
     Directors annually at its July meeting.

     Directors and Executive Officers of the Company are as follows:

                                                             Title            Term Expires

             Donald Arthur Jr.              55             Director             June 2016
             47 Da Vinci Court
             Williamsville, NY 14221

             Joseph Brennan                 52          Chief Operating            N/A
             177 Red Cedar Drive                            Officer
             Rochester, NY 14616

             Christopher K. Casey           60             Director             June-2018
             6 Quoin Crescent
             Victor, NY 14564

             Laurence F. Doud, III          72         Chief Executive             N/A
             18 Melbourne Green                      Officer, Secretary and
             Fairport, NY 14450                            Treasurer

             Stephen Giroux                 58             President            June 2016

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             ~                           Age              Title           Term Expires

             9034 Ridge Road
             Gasport, NY 14067

            Sherwood Klein               60          Vice President        June 2017
            5 Lincoln Drive
            PO Box 832
            Ellicottville, NY 14731

            Richard Klenk                70             Director           June 2018
            8770 Haley Court
            Clarence Center,      NY
            14032

            Joseph Lech                  57             Director           June 2017
            I j Rockledge Lane
            Tunkhannock, PA 18657

            Boris Mantell                71             Director           June 2017
            l 18 Urban Street
            Brooklyn, NY 1123 5

            J. Scott Miskovsky           65             Director           June 2018
            8 Fourth Street
            Vandling, PA 18421

           Garry Mrozek                  56             Director           June 2016
           8303 Misty Ridge Trail
           Poland, Ohio 44514

           Paul Pagnotta                 46            Chairman            Ex Officio
           283 Beaver Darn Road
           Selkirk, NY 12158

           KimM. Perry                   64     Chief Financial Officer      NIA
           6954 Benedict Beach
           Hamlin, NY 14464


          Donald Arthur, Jr. serves as a Director of the Company. Mr. Arthur was elected to the
   Company's Board of Directors in 1998 and has previously served as the Company's Chairman of
   the Board of Directors and as its President. He is an owner of Black Rock Pharmacy and the
   Brighton Eggert Pharmacy in Buffalo, New York. Mr. Arthur serves on the Company's Bank
   Committee, and serves as Chairman of the Accounts Receivable Committee.

          Joseph Brennan has served as the Company's Chief Operating Officer since June, 2013.
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     From August 2003 to June 2013, Mr. Brelll1an served as General Manager of the Company.
     Prior to that, Mr. Brennan served as Director of Business Development/Trade Relations from
     August 1999 to August 2003, as Director of Sales from 1995 to 1999, · and as a Sales
     Representative from 1992 to 1995. Before joining the Company, Mr. Brelll1an worked for
     Goldline Laboratories as a territory sales manager.

            Christopher K. Casey serves as a Director of the Company. He has served three prior
     tenns as the Company's President and Chairman of the Board of Directors. Mr. Casey has
     served on the Company's Board of Directors for all but three years since 1989. Mr. Casey is
     owner, President and phannacist of Mead Square Pharmacy in Victor, New York. Mr. Casey is
     also part owner of Alberty Drug in Batavia, New York. Mr. Casey serves on the Company's
     Insurance, Banking and Nominating Committees.

             Laurence F. Doud, III was elected Chief Executive Officer, Secretary and Treasurer of
     the Company in May 1991. From July 1987 to that time, Mr. Doud served as General Manager
     of the Company. Prior to that time, Mr. Doud was Vice President of Sales for Cardinal Health,
     Inc. and a predecessor company for eleven years. Mr. Doud serves on the Company's Executive,
     Insurance, Audit, Nominations, and Accounts Receivables Committees, and on its Banking and
     Investments Committee.

            Stephen Giroux is currently serves as President and has served on the Company's Board
     of Directors since June 1995. Mr. Giroux has twice previously served as the Company's
     Chainnan of the Board of Directors and as its President. Mr. Giroux is a partner in Middleport
     Family Health Center, Transit Hill Pharmacy, Summit Park Pharmacy, Lockport Home Medical,
     Rosenkrans Phannacy, Thee Barker Store, Wurlitzer Family Phannacy, Inc., Oakfield Family
     Pharmacy, Inc., and Hilton Family Pharmacy, all in western New York State. Mr. Giroux is a
     past President of the National Community Pharmacists Association. He serves on the
     Company's Accounts Receivable Committee, Executive and Audit Committees.

            Sherwood Klein currently serves as Vice President and is a member of the Board of
    Directors. He has previously served as the Company's President and as its Chairman of the
    Board of Directors. Mr. Klein has served on the Company's Board of Directors since 1993. He
    is a pharmacist and owns, in partnership, Ellicottville Pharmacy in Ellicottville, New York. He
    is Chairman of the Company's Insurance Committee, and also serves on the Nominating,
    Executive and Audit Committees.

             Richard Klenk currently serves as a Director on the Company's Board of Directors. He
    has served as a director since June, 1994 and has previously served as the Company's President
    and Chairman of the Board. He serves on the Company's Accounts Receivables Committee. He
    is a partner in Summit Park Pharmacy in Niagara Falls, New York.

          Joseph Lech has been a Board member since 2007. He has previously served as the
    Company's President and Chairman of the Board. He is the principal owner of the Lech's
    Pharmacy Group, a six pharmacy chain located in Wyoming, Sullivan, Bradford and
    Lackawanna counties in Pennsylvania He serves on the Company's Insurance Committee.

           Boris Mantell has served on the Company's Board of Directors since June, 2014. Mr.
    Mantell is a partner in and operates Elm Drugs and Elm Health Chelsea, in Manhattan. He is
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      actively involved in PSSNY and has served as that organization's president and chairman. Mr.
      Mantell has also served as president and chainnan of the New York City Pharmacist Society.
      Mr. Mantell serves on the Company's Tote Committees.

            J. Scott Miskovsky was appointed to the Board in 2002. He is the Company's first
     Director from outside New York State. He is the owner of Red Cross Pharmacy iri Forest City,
     Pennsylvania. He has previously served as the Company's President and Chainnan of the Board.
     Mr. Miskovsky serves on the Company's Accounts Receivables and Nominations Committees.

             Garry Mrozek has served on the Company's Board of Directors since June, 2014. Mr.
     Mrozek is chief executive officer of Hometown Pharmacy Solutions, which has retail and
     compounding divisions in Northeast Ohio and Western Pennsylvania, and owns and manages
     long-term care pharmacies. Mr. Mrozek founded Hometown Pharmacies in 1999 after an
     extensive career in the banking industry. Mr. Mrozek serves on the Company's Banking and
     Tote Committees.

            Paul Pagnotta is currently Chairman, and a member of the Board of Directors; and has
     served on the Board since 2011. He was the Company's first Board member from the eastern
     portion of New York State. Mr. Pagnotta owns, in partnership, Four Corners Pharmacy in
     Delmar, New York. He serves on the Executive, Audit, and Insurance Committees.

             Kim M. Perry, CPA, has served as the Company's Chief Financial Officer since 2009,
     and has over. 30 years of experience as a controller and CFO in various industries, as well as
     broad finance and accounting experience.

            Mr. Doud, the Company's Chief Executive Officer, has an employment agreement, dated
    effective as of April 1, 2014, which extends for a term through March 31, 2019.

           Mr. Brennan, the Company's Chief Operating Officer, has an employment agreement,
    dated effective as of April I, 2013, which extends for a term of four years through March 31,
    2017.


                                      DESCRIPTION OF SECURITIES

             The Company has authorized 570,000 shares of capital stock, of which (i) 60,000 shares
    are Voting Common Stock with a par value of$5 per share, (ii) 10,000 shares are Non-Voting
    Common Stock with a par value of $.01 per share, and (iii) 500,000 shares are Preferred Stock
    with a par value of $5 per share. Only shares of the Company's Voting Common Stock are
    offered hereby. As of the Record Date for the Stock Dividend described below, the Company
    had issued and outstanding 262 shares of Voting Common Stock, 138 shares of Non-Voting
    Common Stock, and 124,208 shares of Preferred Stock. The net book value per common share
    of the Company's Common Voting Stock as of March 31., 2015 was $34,546. On a proforma
    basis, after giving effect to the Stock Dividerid described below, the net book value per common
    share as of March 31, 2015 would have been reduced to $17,273. The Company only calculates
    book value per common share at the conclusion of each fiscal year. As such, the actual net book
    value per . c.ommon share. as of the date of this Confidential. Summary. Offering Statement may be.
    higher or lower than $17,273.

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     Stock Dividend

             On February 16, 2016, the Company declared a stock dividend (the "Stock Dividend"),
     payable in the form of RDC's non-voting common stock, equal to one share of new non-voting
     common stock for each issued and outstanding share of voting common stock as of March 15,
     2016 (the "Record Date") and one share of new non-voting common stock for each share of non-
     voting common stock issued and outstanding as of the Record Date. On the Record Date, there
     were 262 shares of voting common st.ock and 138 shares of non-voting common stock issued and
     outstanding. Accordingly, on the Record Date, the Company issued a total of 400 new shares of
     non-voting coinrnon stock, consisting of (i) an additional 262 shares of non-voting common
     stock, representing the dividend on the then-outstanding shares of voting common stock, and (ii)
     an additional 138 shares of non-voting common stock, representing the dividend on the then-
     outstanding shares of non-voting common stock. The additional shares of non-voting common
     stock were issued to shareholders of record on March 29, 2016 .. Immediately following the
     issuance of the new shares of non-voting common stock, there were 262 shares of the
     Company's voting common stock and 538 shares of non-voting common stock issued and
     outstanding.

            As a result of the Stock Dividend, the total number of shares of the Company's common
     stock (consisting of voting common stock and non-voting common stock) has been doubled and,
     accordingly, the Company's net book value per share of common stock has been teduced by half.
     The Company calculates its net book value per share only once per year, following the
     completion of its fiscal year. As of March 31, 2015, the completion of the Company's last fiscal
     year, the Company's net book value per common share was $34,546 per share. On a pro forma
     basis, had the Stock Dividend been completed as of March 31, 2015, the net book value per
     common share would have been reduced to $17,273 per share.

     Voting Common Stock; Non-Voting Common Stock.

           The Gompany's Voting Cornman Stock and Non-Voting Common Stock have the
     following rights and privileges:

          Voting
                Each holder of the Company's Voting Common Stock is entitled to one vote in
          the election of directors and one vote in all other matters submitted to the
          shareholders. Holders of Non-Voting Common Stock do not have any voting rights,
          except as otherwise provided by law.

          Preemptive Rights
                  The holders of the Company's Common Stock do not have any preemptive
          right to acquire any additional shares issued by the Company.

          Ownership and Minimum Purchase Requirements
                 Holders of the Company's Voting Common Stock are required to own a
          licensed pharmacy and are required pursuant to the Company's Certificate of
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          Incorporation and By-laws to make minimum annual purchases from the Company
          of at least $500,000. A shareholder who fails to meet these ownership and/or
          minimuni purchase requirements is subject to redemption, as described below. The
          Subscription Agreement required to be delivered by an investor in this offering will
          provide that an investor in this Offering is required, as a condition to its subscription
         for Voting Common Stock, to agree to make and pay for purchases from the
         Company, during each of the five (Si fiscal years of the Company beginning with the
         fiscal year commencing April I, 2015 (the "Five Fiscal Year Period"), of generic
         pharmaceutical products having an aggregate purchase price of not less than
         $100,000 (the "Minimum Generic Purchase Requirement").                    The $100,000
         Minimum Generic Purchase Requirement is a component of, and is not intended to
         increase, the aggregate dollar amount of the minimum purchase requirements set
         forth in the Company's By-laws and Certificate of Incorporation.
         Dissolution

               Upon dissolution of the Company, after payment of the Company's debts and
        provision has been made for the retirement of the Company's Preferred Stock at its
        par value and accruals thereon and other fixed obligations, if any, held by holders of
        Common Stock, then the holders of Voting and Non-Voting· Conirnon Stock are
        entitled· to receive the net assets remaining in accordance with applicable law.

        Redemption; Right of First Refusal

               The Company's Certificate of Incorporation and By-Laws provide that the
         Company may redeem ·any Voting Common Stock or Non-Voting Common Stock
         owned by {a) a shareholder who does not, as of the date his Voting Common Stock is
         called for redemption, own a licensed pharmacy or (b) a shareholder who has made
         from the Company during the previous fiscal year no purchases or purchases
         amounting to. less than $500,000. Such shares may be redeemed at net book value,
         less amounts owed to the Company directly or indirectly by such shareholder, plus
         previously declared and unpaid dividends. ·1n addition, th~ C<Jmpany has the right to
         purchase at net book value, less any amounts owed by a shareholder to the Company,
         plus declared and unpaid dividends, any Voting Common Stock presented for
        transfer. Shares of Voting Common Stock and Non-Voting Common Stock held by
        a shareholder who (directly or indirectly) is indebted to the Company with respect to
        any amounts which      are more than 180 days past due may also be called for
        redemption, with the prjce determined in the manner set forth above (with any such
        amounts otherwise payable reduced by the amouni of the shareholder's indebtedness
        to the Company). Th.e Company may also refuse to consent to the transfer of any
        Voting Common Stock or Non-Voting Common Stock if tile proposed transferor is
        indebted to the Company.

                 Upon any default by an investor in this Offering of the Minimum Generic
         Purchase Requirement described above, the Company may elect to redeem and
         ~epurchase the shares of Voting Common Stock held by the investor, upon written
         notice given within one hundred eighty (180) days following the conclusion of any
         of year during the Five Fiscal Year Period. The purchase price for any repurchase
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           of Voting Common Stock pursuant as a result of a failure to meet the Minimum
           Generic Purchase Requirement shall be equal to the lesser of (i) the amount
           originally paid by the investor to purchase the shares .of Voting Common Stock
           from the Company, or (ii) the book value per share of Voting Common Stock as of
           the last day of the fiscal year for which the Minimum Generic Purchase
           Requirement was not met, as determined by the Company's independent auditors.
           The purchase price for any repurchase of Voting Common Stock upon a failure to
           meet the Minimum Generic Purchase Requirement shall be increased, by the
           amount of any previously declared and unpaid dividends, and reduced by any
           amounts owed by the shareholder to the Company.

          Dividends; Patronage Dividends

                In accordance with the Company's Certificate of Incorporation, the Company
          may pay dividends of up to 8% on its Voting Common Stock. These dividends may
          only be declared and paid after payment of accrued dividends on Preferred Stock.

                In addition, as a co-operative corporation, the Company is also authorized to
          return earnings to its shareholders based upon their patronage of the Company, in the
          form of "patronage dividends". After establishment of reserve funds, the Company
          may distribute its earnings and savings in the form of stock, cash or evidence of
          indebtedness, or in savings proportionately and equitably among shareholders on the
          basis of the amount of sales or other services rendered to or by such shareholders as
          determined from time to time by the Board of Directors. The Board's current policy
          on such "patronage dividends",· and information regarding the right to r~ceive or
          retain patronage dividends by subscribers who deliver promissory notes in payment
          of the purchase price for. Voting Common Stock, is described under the heading
          "DIVIDEND POLICY". Pursuant to its Certificate of Incorporation and Bylaws and to
          the fullest extent permitted by law, the Company is expressly authorized to offset
          against and reduce the amount of any patronage dividends otherwise payable to a
          stockholder who, directly or through entities controlled by the stockholder, is
          indebted to the Company with respect to amounts more than 60 days past due.

     Preferred Stock

          Voting

               The holders of the Company's Preferred Stock do not have any voting rights,
          except as otherwise provided by law.

          Preemptive Rights

                  The holders of the Company's Preferred Stock do not have any preemptive
         . right to acquire any additional shares issued by the Company.




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           Dividend Rights

                 The Preferred Stock bears a non-cumulative preferred dividend of 5% per year. No
            dividend may be declared or paid for any fiscal year on the Company's Voting or Non-
            Voting Common Stock until provision is made for payment of the Preferred dividend.

           Dissolution

                Upon dissolution of the Company, the holders of Preferred Stock are entitled to
          receive the $5 par value per share and accrued non-cumulative dividends at the rate of 5%
          of the par value per annum until the date ofretirement of their shares, before the payment
          of any amounts to the holders of Common Stock.

          Redemption; Right of First Refusal

                The Preferred Stock may be called for redemption by the Company's Board of
          Directors at any time, upon 30 days' prior notice, at its par value, plus unpaid dividends,
          less amounts owed to the Company by the shareholder. Shares of Preferred Stock held by
          a shareholder who (directly or indirectly) is indebted to the Company with respect to any
          amounts which are more than 180 days past due may also be called for redemption, at the
          par value of such shares, less amounts owed by the Shareholder (directly or indirectly) to
          the Company, plus any declared and unpaid preferred stock dividends thereon. In addition,
          the Company has a right of first refusal to purchase at par value, plus declared and unpaid
          dividends, less amounts owed to the Company, any preferred stock presented for transfer.
          The Company may also refuse to consent to the transfer of any Preferred Stock if the
          proposed transferor is indebted to the Company.

                                  ADDITIONAL INFORMATION

            The Company will give prospective investors access to such additional information as
    they reasonably request in writing. Notwithstanding the foregoing, the Company will not
    disclose any information concerning its operations, which it believes to be proprietary, or the
    public disclosure of which would harm its competitive position.




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                                      Index To Exhibits

     Exhibit A          Unaudited Financial Statements for the Nine Months Ended December
                        31, 2015 and Audited Financial Statements for the Fiscal Years ended
                        March 31, 2015 and 2014

     Exhibit B          Form of Subscription Agreement

     ExhibitC           Form of Promissory Note

     ExhibitD           Form of Pledge Agreement and Irrevocable Proxy (with Stock Power)

     Exhibit E                                                                   '
                        Certificate of Incorporation and By-laws, each as amended·to date




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         THE l,NIT£D STATES ATTORNEY'S OFFICE

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         U.S. Attorney~» Southern District of New York » ~ » Press Releases

                                                              Department of Justice

                                                               U.S. Attorney's Office

                                                          Southern District of New York


        FOR IMMEDIATE RELEASE                                                                                   • Thursday, April 2, 2020


          Manhattan U.S. Attorney Announces Settlement Of Fraudulent
         Billing And Kickback Lawsuit Against Compounding Pharmacies
                                 And Owners
        Geoffrey S. Berman, the United States Attorney for the Southern District of New York, Lt. Gen. Ronald J.
        Place, Director of the Defense Health Agency of the U.S. Department of Defense ("DoD"), Scott J. Lampert,
        Special Agent in Charge of the New York Regional Office of the U.S. Department of Heal:h and Human
         Services, Office of Inspector General ("HHS-OIG"), Michael Mikulka, Special Agent-in-Charge of the Office
         of Investigations, Labor Racketeering and Fraud, of the U.S. Department of Labor, Office of Inspector
         General ("DOL-OIG"), and Thomas W. South, Deputy Assistant Inspector General for Investigations of the
         U.S. Office of Personnel Management, Office of Inspector General ("OPM-OIG"), announced today that the
         United States has filed a lawsuit and s_imultaneously settled civil healthcare fraud claims against FPR
         SPECIALTY PHARMACY LLC and MEAD SQUARE PHARMACY, INC. ("MEAD SQUARE" and together, the
        "Pharmacies"), and their owners, CHRISTOPHER K. CASEY and WILLIAM RUE (collectively, "Defendants"),
        for their submission of fraudulent claims for reimbursement to federal healthcare progranr,s for compounded
        prescription drugs in violation of the False Claims Act and the Anti-Kickback Statute. Specifically, as alleged
        in the Government's complaint, the Pharmacies sold prescription drugs to federal healthcare program
        beneficiaries in states in which the Pharmacies were not licensed, improperly induced patients to purchase
        expensive custom compounded medications by waiving all or part of the substantial co-payments required
        under the federal healthcare programs, and paid sales representatives per-prescription commissions to
        illegally induce more prescriptions to be written. In connection with the settlement agreements, which were
        approved today by U.S. District Judge Paul A. Engelmayer, Defendants agreed to pay a total of $426,000,
        and admitted to and accepted responsibility for the conduct alleged in the complaint. The amounts paid by
        Defendants under the settlements are based on the Office's assessment of their ability to pay based on the
        financial information they provided.

        Manhattan U.S. Attorney Geoffrey S. Berman said: "Pharmacies, like other participants in the healthcare
        industry, must follow the rules. The defendants here brazenly flouted basic rules on licensing and kickbacks
        to line their pockets with dollars from federal healthcare programs. That is a prescription for intervention by
        my Office and our partners."

       According to the complaint filed in Manhattan federal court:

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         During the retevant period, from 2011 through 2015, the Pharmacies dispensed a compounded prescription
         analgesic cream known as Focused Pain Relief from their facility in Victor, New York, to patients around the
         country. Many of the Phanmacies' patients were beneficiaries of federal healthcare programs such as
         TRICARE, Medicare. federal employee workers' compensation programs overseen by DOL, and the Federal
         Employee Health Benefit Program. CASEY and RUE co-owned and managed FPR SPECIALTY
         PHARMACY, while CASEY owned and managed MEAD SQUARE, for which RUE also worked for a time.

         The rules governing federal healthcare programs require pharmacies dispensing prescriptions to their
         members to be licensed with the appropriate state authorities in order to request reimbursement for the cost
         of the medications. The Pharmacies violated the False Claims Act by dispensing and requesting
         reimbursement for hundreds of prescriptions of Focused Pain Relief dispensed to federal healthcare
         program beneficiaries located in states where the Pharmacies were not licensed to operate by the
         appropriate state authorities, and by failing to disclose that they were not licensed. The Pharmacies also
        violated the False Claims Act by billing federal healthcare programs for prescriptions dispensed in states in
        which they had obtained their state licenses under false pretenses, including by failing to inform state
        authorities that they had previously dispensed drugs in the states without a license and by failing to disclose
        CASEY's criminal history on pharmacy license applications.

        In addition, the Pharmacies violated the Anti-Kickback Statute by engaging in two separate illegal practices.
         First, the Pharmacies regularly charged federal healthcare program beneficiaries co-payments substantially
        below program requirements (which often exceeded $100) in order to induce them to purchase expensive
        prescriptions of Focused Pain Relief, for which the federal healthcare programs paid hundreds and
        sometimes thousands of dollars each. And second. the Pharmacies often paid illegal kickbacks to their
        sales representatives in the form of sales commissions tied to the number of Focused Pain Relief
        prescriptions written by the physicians to whom each representative marketed.

        As part of the settlement agreements, Defendants agreed and accepted responsibility for the following:

             • The Pharmacies sold prescriptions to customers covered by federal healthcare programs who were
               located in several states in which they were not licensed or no longer licensed by the relevant state
               pharmacy boards to operate as out-of-state mail-order pharmacies or otherwise sell prescription drugs
               to residents of those states.

                The Pharmacies did not disclose, in connection with their applications to state pharmacy boards,
                which.were usually signed by CASEY, when they had previously sold mail-order prescription drugs to
                residents of those states where the Pharmacies either were not licensed or had license applications
                pending but were not yet licensed.




                The Phanmacles often did not charge customers who were covered by federal healthcare programs
                the required co-pays or coinsurance payments mandated by those programs for prescription drugs, in
                connection with their sales of Focused Pain Relief to those customers.




             • The Pharmacies entered into agreements with independent sales agents and distributors to solicit
               physicians to prescribe Focused Pain Relief. These agreements, which were often signed by RUE.
               generally provided that the Pharmacies would pay the sales agents and distributors specific sums as
               sales commissions for each prescription of Focused Pain Relief prescribed by a physician assigned to
               the particular agent or distributor. The Pharmacies actually paid their sales agents and distributors
               sales commissions on a per-prescription basis, in accordance with these agreements.

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        As part of today's settlement, MEAD SQUARE also entered into ~ c9rporate integrity agreement with HHS-
        OIG, through which it agreed to imple.ment compliance measures and submit to monitoring. FPR
        SPECIALTY PHARMACY dissolved in 2016.

       In connection with the filing of the lawsuit and settlement, the Government intervened in a private
       whistleblower lawsuit that had been filed under seal pursuant to the False Claims Act.

        Mr. Berman thanked DoD, HHS-OIG, DOL-OIG, and OPM-OIG for their assistance with the case.

       The case is being handled by the Office's Civil Frauds Unit. Assistant United States Attorney Jean-David
       Barnea is in charge of the case.


       Attachment(s):
       Download 16cv5204 f~Y. settlement stiRulation 4.2.20,R.Qf
       Download 16cv5204 rue settlemern stipulation 4.2 20 pd!
       Downioad fpr complaint in intervention - sigQlld..pdf

       Toplc(s):
       False Claims Act
       Health Care Fraud

       Component(s):
       USAO - New York, Southern

       Contact:
       James Margolin, Nicholas Biase
       (212) 637-2600

       Press Release Number:
       20-102

                                                                                                                          Updated April 2, 2020




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        From: "ckshade3@gmail.com" <ckshade3@gmail.com>
        Date: June 19, 2020 at 2:58:41 PM EDT.
        To: Garry Mrozek <garry.mrozek@thehometownpharmacies.com>
        Cc: donald arthur <donaldarthurjr@gmail.com>, stephen giroux
        <girouxmf@gmail.com>, Richard Klenk <rxklenk@roadrunner.com>, BORIS MANTELL
        <rxtsar@aol.com>, J Miskovsky <scott@rcrx.com>, joseph lech <jplrph@me.com>, Paul
        Pagnotta <Paul@4crx.com>, "John T. Kinney" <jkinney@rdcdrug.com>, Chris Masseth
        <CMasseth@rdcdrug.com>
        Subject: Thoughts


        Dear All,

        I just want to take a moment to thank you all for years of friendships, guidance and
        discussions as we all did our best to lead RDC to the best of our abilities. I appreciate
        the professionalism that each of you brought to the table and the friendships that came
        with it. I certainly will miss this as it has been a large portion of my life. Best wishes
        bringing this to its unfortunate conclusion.
        I am sorry that along the way my debt to RDC became a part of the problem. I am
        actively pursuing the sale of each of my pharmacies, to help with my obligation to
        RDC. My career is not ending in the fashion I had planned on but I too need to move on
        from all the stresses that the last 4 years have brought.
        Again, I leave with respect for you all, Thanks for allowing me to part of your lives.

        "May your troubles be less and your blessings be more, and nothing but happiness
        come through your door"

        Slan Leat

        Chris




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